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  8                               UNITED STATES DISTRICT COURT
  9                              CENTRAL DISTRICT OF CALIFORNIA

 10   CHRIS LANGER,                                  ) Case No.: 2:19-CV-07218-CJC-GJS
                                                     )
                                                     ) ORDER
 11                 Plaintiff,                       )
 12      v.                                          )
                                                     )
 13   MYER PROPERTY LLC, a California                )
      Limited Liability Company; JERONIMO            )
                                                     )
 14   GUTIERREZ; SOO GIL KIM; OK HYE                 )
 15   KIM; and Does 1-10,                            )
                                                     )
 16              Defendants.                         )
                                                     )
 17
 18
 19                                             ORDER

 20           The Court hereby vacates all currently set dates, with the expectation that the
 21   parties will file a Joint Stipulation for Dismissal within 60 days.
 22
 23   IT IS SO ORDERED.
 24
 25   Dated: ______________                    _____________________________________
 26                                            HONORABLE CORMAC J CARNEY
                                               United States District Judge
 27
 28


      Notice of Settlement                    -1-                     2:19-CV-07218-CJC-GJS
